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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION


  UNITED STATES OF AMERICA )
            Plaintiff,     )
                           )
            vs.            )                                  NO. 4:01-CR-22-06-SEB-MGN
                           )
  KEVIN YATES              )
            Defendant      )



                   ORDER APPROVING AND ADOPTING MAGISTRATE
                     JUDGE’S REPORT AND RECOMMENDATION

         The Court, having considered the Magistrate Judge’s Report and Recommendation dated

  May 7, 2010, hereby approves and adopts it as an order of this Court.

         IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the defendant’s

  supervised release is REVOKED. The defendant is committed to the Bureau of Prisons to serve

  a term of imprisonment of six (6) months. Following the six-month term of imprisonment, the

  defendant shall be placed on supervised release for a period of forty-two (42) months in

  accordance with the standard and special conditions of supervised release previously imposed.

         The Court recommends that the defendant’s term of imprisonment be served at the

  Federal Medical Center in Lexington, Kentucky.



         05/27/2010
  Date: ________________

                                                           _______________________________
                                                      ___________________________________
                                                      SARAH    EVANS
                                                            SARAH    EVANSBARKER,        JUDGE
                                                                              BARKER, JUDGE
                                                            United States District Court
                                                      UnitedSouthern
                                                             StatesDistrict
                                                                       District    Court
                                                                             of Indiana
                                                      Southern District of Indiana
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  U.S. Probation
